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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

In re:                                    )       Chapter 11
                                          )
EDGEWATER MEDICAL CENTER,                 )       No. 02 B 07378
                                          )
                                          )       Honorable Bruce W. Black
                        Debtor.           )
                                          )
                                          )
EDGEWATER MEDICAL CENTER,                 )
                                          )
                        Plaintiff,        )
                                          )       Adv. No. 04 A 02327
            vs.                           )
                                          )
PETER ROGAN,                              )
BRADDOCK MANAGEMENT, L.P.,                )
BAINBRIDGE MANAGEMENT, L.P.,              )
BAINBRIDGE MANAGEMENT, INC.               )
                                          )
                        Defendants.       )
__________________________________________)


                      EXHIBITS IN SUPPORT OF PLAINTIFF
              EDGEWATER MEDICAL CENTER’S SUPPLEMENT TO ITS
         PRIOR MOTION FOR SUMMARY JUDGMENT REGARDING DAMAGES
          AND IN SUPPORT OF ITS SUPPLEMENT TO ITS LOCAL RULE 7056-1
                  STATEMENT OF UNDISPUTED MATERIAL FACTS
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